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IN THE UNITED sTATEs DIsTRIcT couRT F“‘ED BY '“"‘" D'c'
FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 05-20140-Ml

LEONARD DAVIS

Defendant.

v-._,~._,'~_¢-._,~_'-_,V~_,V~_¢

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on August 24, 2005, the United States
Attorney for this district, David Pritchard, appearing for the Government
and the defendant, Leonard Davis, appearing in person and with counsel,
Jacob Erwin, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty as to Counts l and 2 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for THURSDAY, NOVEMBER 17, 2005, at
9:00 a.m., in Courtroom Nb. 4, on the 9“ floor before Judge Jon Phipps
McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the g"' day of August, 2005.

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JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
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David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable .1 on McCalla
US DISTRICT COURT

